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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ALISON STEELE, INDIVIDUALLY                   §
AND ON BEHALF OF THE ESTATE OF                §
CAYLEY MANDADI,                               §
Plaintiffs                                    §
                                              §
v.                                            §       Case No. 5:21-CV-780XR
                                              §
TRINITY UNIVERSITY and                        §
MARK HOWERTON,                                §
Defendants                                    §

      DEFENDANT MARK HOWERTON’S ANSWER TO PLAINTIFF’S ORIGINAL
                       PETITION (COMPLAINT)

        TO THE HONORABLE JUDGE OF SAID COURT

        NOW COMES Mark Howerton, Defendant in the above-titled and numbered cause and

files Answer to Plaintiff’s Original Petition (Complaint). Defendant respectfully shows the

Court as follows:

     1. Defendant lacks knowledge or information sufficient to form a belief about the truth of

the allegations in paragraph 1 of Plaintiff’s Original Petition (Complaint) that relate to defendant

Trinity University (“Trinity”). To the extent Plaintiff makes allegations of wrongdoing against

Defendant Howerton in paragraph 1, Defendant Howerton invokes the Fifth Amendment to the

United States Constitution’s privilege against self-incrimination. See Davis-Lynch, Inc. v.

Moreno, 667 F.3d 539, 547 (5th Cir. 2012). The basis of Defendant Howerton’s invocation of

the Fifth Amendment privilege against self-incrimination is that he was charged, via true bill of

indictment, in Cause Number 2019-CR-2399, The State of Texas v. Mark P. Howerton, and said

case is currently pending San Antonio, Bexar County, Texas. The underlying factual basis for

Plaintiff’s Original Petition (Complaint) and for the indictment in Cause Number 2019-CR-2399



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is the same. The overlap of the allegations in the indictment and Plaintiff’s allegations creates an

actual danger of self-incrimination and the need for Defendant Howerton to invoke the Fifth

Amendment. Defendant Howerton reasonably believes that if he does not remain silent, and

neither admit nor deny the allegations in Plaintiff’s suit, any statement he may make may be used

against him in the criminal proceeding related to the indictment. 1

    2. Defendant Howerton can neither admit nor deny the allegation related to the entry of a

discovery control plan pursuant to the Texas Rules of Civil Procedure as this case is currently

controlled by the Federal Rules of Civil Procedure. Defendant Howerton expects the parties to

confer regarding a scheduling order in this cause.

    3. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of Plaintiff’s usual place of abode.

    4. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of Trinity’s principle place of business.

    5. Admit.

    6. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

tradenames or assumed names of any party.

    7. Defendant Howerton admits that he is subject to the jurisdiction of this Court. Defendant

Howerton lacks knowledge or information sufficient to form a belief about the truth of the

allegations regarding Defendant Trinity in paragraph 7 of Plaintiff’s Original Petition

(Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right against self-

incrimination.



1
 For brevity, and to the extent further allegations in Plaintiff’s suit require Defendant Howerton to invoke his Fifth
Amendment right against self-incrimination, Defendant Howerton shall simply state “Defendant Howerton invokes
his Fifth Amendment right against self-incrimination”.

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   8. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   9. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   10. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 10 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   11. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   12. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   13. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   14. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   15. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 15 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   16. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 16 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   17. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 17 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.




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   18. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 18 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   19. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 19 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   20. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 20 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   21. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.

   22. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 22 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   23. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraph 23 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination.

   24. Defendant Howerton invokes his Fifth Amendment right against self-incrimination.




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   25. Defendant Howerton lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Trinity in paragraphs 25-47 of Plaintiff’s Original

Petition (Complaint). Otherwise, Defendant Howerton invokes his Fifth Amendment right

against self-incrimination to paragraphs 25-47 of Plaintiff’s Original Complaint.

   26. Defendant Howerton invokes his Fifth Amendment right against self-incrimination in

paragraphs 48-72 of Plaintiff’s Original Petition (Complaint).

                        AFFIRMATIVE DEFENSE – LIMITATIONS

   27. Defendant Howerton pleads the affirmative defense of statute of limitations to the extent

that Plaintiff’s claims should have been brought within two (2) years of the date the cause of

action for wrongful death accrued. Defendant Howerton alleges and avers that Plaintiff’s cause

of action accrued on October 31, 2017, and that Plaintiff should have filed a lawsuit on or before

October 31, 2019. Defendant alleges and avers that Plaintiff’s claims are time-barred.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing

by her suit. Defendant prays for such other and further relief to which he may be justly entitled

at law or in equity.

                                             Respectfully submitted,

                                             LAW OFFICE OF ROBERT F. WHITE, P.C.
                                             10107 McAllister Freeway
                                             San Antonio, Texas 78216
                                             Telephone: (210) 771-5766
                                             Facsimile: (210) 428-6410

                                             By:     /S/Robert F. White
                                                     ROBERT F. WHITE
                                                     Texas Bar No. 24067934
                                                     robert@rfwpc.com
                                                     Attorney for Defendant
                                                     Mark Howerton

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                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the above and foregoing instrument of the
above and foregoing instrument has been forwarded to all parties and/or attorneys of record via
the CM/ECF system on September 7, 2021and that counsel has complied with CM/ECF
procedures.

                                             /S/Robert F. White
                                             ROBERT F. WHITE




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